                 Case 3:19-cv-05798-RBL Document 24 Filed 12/19/19 Page 1 of 4




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                                                              HONORABLE RONALD B. LEIGHTON
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 5
                                 UNITED STATES DISTRICT COURT
 6                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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 8                                                         Case No. 3:19-cv-05798-RBL
     DOUGLAS FERRIE,
 9                                                         PLAINTIFF’S NOTICE OF
                     Plaintiff,                            VOLUNTARY DISMISSAL
10                                                         WITHOUT PREJUDICE ONLY AS
            v.                                             TO DEFENDANTS HORIZON
11   WOODFORD RESEARCH LLC, et al.,                        TRUST COMPANY LLC, GREG
                                                           HERLEAN, AND DANIEL ENSING
12                   Defendants.
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16          Plaintiff DOUGLAS FERRIE, an individual (“Plaintiff”), by and through his undersigned

17   counsel and pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), hereby gives notice that this action shall be,

18   and is, DISMISSED WITHOUT PREJUDICE only as between Plaintiff and Defendants

19   HORIZON TRUST COMPANY LLC, a foreign limited liability company; GREG

20   HERLEAN, an individual; and DANIEL ENSING, an individual (collectively “the Horizon

21   Defendants”).

22          This Notice of Voluntary Dismissal is not intended to, and shall not have, any effect on

23   any claims asserted by any other parties to this litigation, or the defenses to those claims.

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      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
      WITHOUT PREJUDICE ONLY AS TO DEFENDANTS
      HORIZON TRUST COMPANY LLC, GREG HERLEAN,
      AND DANIEL ENSING - 1
      (19-cv-05798-RBL)
            Case 3:19-cv-05798-RBL Document 24 Filed 12/19/19 Page 2 of 4




 1        RESPECTFULLY SUBMITTED AND DATED this 19th day of December, 2019.

 2                                       TERRELL MARSHALL LAW
                                          GROUP PLLC
 3
                                         By: /s/ Beth E. Terrell
 4                                         Beth E. Terrell, WSBA #26759
                                           Email: bterrell@terrellmarshall.com
 5                                         936 North 34th Street, Suite 300
                                           Seattle, Washington 98103-8869
 6                                         Telephone: (206) 816-6603
                                           Facsimile: (206) 319-5450
 7
                                           David C. Silver
 8                                         Email: dsilver@silvermillerlaw.com
                                           Jason S. Miller
 9                                         Email: jmiller@silvermillerlaw.com
                                           Todd R. Friedman
10                                         Email: tfriedman@silvermillerlaw.com
                                           SILVER MILLER
11                                         11780 West Sample Road
                                           Coral Springs, Florida 33065
12                                         Telephone: (954) 516-6000
13                                       Counsel for Plaintiff Douglas Ferrie
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     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
     WITHOUT PREJUDICE ONLY AS TO DEFENDANTS
     HORIZON TRUST COMPANY LLC, GREG HERLEAN,
     AND DANIEL ENSING - 2
     (19-cv-05798-RBL)
               Case 3:19-cv-05798-RBL Document 24 Filed 12/19/19 Page 3 of 4




                                      CERTIFICATE OF SERVICE
 1

 2          I, Beth E. Terrell, hereby certify that on December 19, 2019, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the following:
 5                  Robie G. Russell, WSBA #20579
                    Email: robielaw@gmail.com
 6                  RUSSELL LAW OFFICES
                    77 South Main Street
 7                  Seattle, Washington 98104-2513
                    Telephone: (206) 621-2102
 8                  Facsimile: (206) 621-2104
 9                  Attorneys for Defendants InfoGenesis Consulting Group, LLC and Kurt F.
                    Weinrich, Sr.
10
                    Aaron E. Millstein, WSBA #44135
11                  Email: aaron.millstein@klgates.com
                    Daniel-Charles V. Wolf, WSBA #48211
12                  Email: dc.wolf@klgates.com
                    K&L GATES LLP
13                  925 4th Avenue, Suite 2900
                    Seattle, Washington 98104-1158
14                  Telephone: (206) 623-7580
                    Facsimile: (206) 623-7022
15
                    Attorneys for Defendants Woodford Research, LLC, Hubert Senters, Karen Arvin,
16                  Ross Givens, and Jared Carter
17                  Michael E. Kipling, WSBA #7677
                    Email: mike@walterkipling.com
18                  Marjorie A. Walter, WSBA #40078
                    Email: marjorie@walterkipling.com
19                  WALTERKIPLING PLLC
                    1546 NW 56th Street, Suite 735
20                  Seattle, Washington 98107
                    Telephone: (206) 545-0347
21
                    Attorneys for Defendants Greg Herlean and Horizon Trust Company LLC
22

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      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
      WITHOUT PREJUDICE ONLY AS TO DEFENDANTS
      HORIZON TRUST COMPANY LLC, GREG HERLEAN,
      AND DANIEL ENSING - 3
      (19-cv-05798-RBL)
            Case 3:19-cv-05798-RBL Document 24 Filed 12/19/19 Page 4 of 4




          DATED this 19th day of December, 2019.
 1
                                      TERRELL MARSHALL LAW GROUP PLLC
 2
                                      By:     /s/ Beth E. Terrell, WSBA #26759
 3                                          Beth E. Terrell, WSBA #26759
                                            Email: bterrell@terrellmarshall.com
 4                                          936 North 34th Street, Suite 300
                                            Seattle, Washington 98103
 5                                          Telephone: (206) 816-6603
                                            Facsimile: (206) 319-5450
 6
                                      Attorneys for Plaintiff
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     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
     WITHOUT PREJUDICE ONLY AS TO DEFENDANTS
     HORIZON TRUST COMPANY LLC, GREG HERLEAN,
     AND DANIEL ENSING - 4
     (19-cv-05798-RBL)
